Case 2:19-cv-01156-MWF-AS Document 83-4 Filed 09/09/20 Page 1 of 3 Page ID #:711
Case 2:19-cv-01156-MWF-AS Document 83-4 Filed 09/09/20 Page 2 of 3 Page ID #:712


Subject:    Summons Paramount Picture vs Ominiverse One World Television Inc
Date:       Tuesday, September 8, 2020 at 5:39:08 AM Paciﬁc Daylight Time
From:       Jewell, Teresa <Teresa.Jewell@treas.nj.gov>
To:         davis@trojanlawoﬃces.com <davis@trojanlawoﬃces.com>
A1achments: Outlook-xhfsw22j.png

HI

the only summons I found was for third party summon for HovSat, INc.
Please let me that is is the summon you are looking for




         Teresa Jewell (Terri) tech 1 CR
          Division of Revenue and Enterprise Service
          33 West State Street| 5th ﬂoor| Trenton, NJ 08620
          Mailing: PO Box 308|Trenton, NJ 08695
          609-984-6692 Fax 609-984-6851
Case 2:19-cv-01156-MWF-AS Document 83-4 Filed 09/09/20 Page 3 of 3 Page ID #:713


Subject:    Summon Parmount Pictures vs Omniversse One World Television
Date:       Tuesday, September 8, 2020 at 5:45:48 AM Paciﬁc Daylight Time
From:       Jewell, Teresa <Teresa.Jewell@treas.nj.gov>
To:         davis@trojanlawoﬃces.com <davis@trojanlawoﬃces.com>
A1achments: Outlook-xtjozfmj.png

Mr. Davis

I found you summon, the one we have is for a third party for HovSTat, Inc.
Please clarify if you another summon or if this is the correct one.




                Teresa Jewell (Terri) tech 1 CR
            Division of Revenue and Enterprise Service
            33 West State Street| 5th ﬂoor| Trenton, NJ 08620
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